                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

JEREMY A. ROWLES,                          )
                                           )
                      Plaintiff,           )
v.                                         )       Case No. 2:17-CV-04250-BCW
                                           )
CURATORS OF THE                            )
UNIVERSITY OF MISSOURI, et al.,            )
                                           )
                      Defendants.          )

                                           ORDER

       Before the Court is the Defendant Curators of the University of Missouri’s Motion for

Summary Judgment. (Doc. #71). The Court, being duly advised of the premises, grants said

motion.

                                   UNCONTROVERTED FACTS

       The Defendant Curators of the University of Missouri is the corporate name of the body

governing Missouri’s state university system. Plaintiff Jeremy Rowles, an African-American man,

was a Ph.D. candidate within the University’s cultural anthropology department until his

suspension in 2017.

       Defendant Ellen Eardley was the University’s Assistant Vice Chancellor for Civil Rights

and Title IX (hereinafter, “Title IX Office”) when Rowles was investigated and sanctioned.

Defendant Andrea Hayes succeeded Eardley and is the current Assistant Vice Chancellor of the

Title IX Office.

       Defendant Cathy Scroggs was the University’s Vice Chancellor for Student Affairs when

Rowles was investigated and sanctioned. Defendant Salama Gallimore was the University’s

Director of Investigations and Deputy Title IX Coordinator when Rowles was investigated and



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sanctioned. The University hired Gallimore in 2014 to work as the Title IX Office’s lead

investigator and promoted her in 2015 to Director.

       In fall 2015, Rowles worked as a teaching assistant for an undergraduate-level

anthropology course. In September 2015, Rowles met with an undergraduate student, LW, and

offered to show her a copy of an upcoming exam, telling LW not to “give [him] any money” or

otherwise “do anything that’s going to get [him] in trouble” in return. Rowles then asked LW to

walk to a coffee shop with him. After this encounter, LW filed a complaint against Rowles with

the Title IX Office.

       Gallimore sent Rowles email notice of LW’s complaint alleging that Rowles had violated

certain provisions of the University’s Collected Rules and Regulations (“CRR”). Rowles perceived

Gallimore as African-American.

       In November 2015, Rowles exchanged social media communications with another

undergraduate student, HT. The communications reflect Rowles’ attempts to establish a romantic

relationship with HT, and HT’s expression of discomfort stemming from Rowles’ efforts.

       On December 29, 2015, Rowles received an email from Kenneth Dean, Senior Associate

Provost, that Rowles needed to choose between administrative resolution or hearing panel

resolution of LW’s complaint. On January 3, 2016, Rowles sent notice that he selected

administrative resolution. On March 9, 2016, Dean emailed Rowles to inform him that the

evidence relating to LW’s complaint against him did not establish violation of the CRR by a

preponderance of the evidence.

       During Rowles’ enrollment at the University as a graduate student, he often made use of

the Student Recreation Center (“Rec Center”). Rowles used the Rec Center to work out and to take




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dance fitness classes, through which Rowles became friends with AB, an undergraduate student

who was an instructor at the Rec Center.

       Rowles began making comments to AB by social media, leading AB to tell Rowles his

contacts were becoming excessive and the relationship between them “need[ed] to remain in the

professional setting.” Rowles apologized and responded that he did not mean to make AB

uncomfortable.

       Rowles attended two to three fitness classes per week at the Rec Center, and recognized

AB’s attempts to avoid him. After one class, Rowles left a note for AB with a song title written on

it, and a drink token for the coffee shop where AB worked.

       In October 2016, Rowles emailed AB expressing his preference that she give him private

dance lessons. Rowles also gave AB a 3-page letter asking AB to explain what she “would want

from him.” Rowles knew AB was distressed by interacting with him because when Rowles would

approach, AB would run away.

       In November 2016, the Rec Center Associate Director filed a complaint with the Title IX

Office on behalf of AB and some other female students. On November 7, 2016, Rowles received

an interim suspension letter from Eardley, indicating that Rowles should refrain from going to the

Rec Center until the Title IX complaint was resolved.

       On November 7, 2016, Title IX investigator Amber Lammers sent Rowles a notice of

investigation advising Rowles of his rights and indicating that he was being investigated for

violations of the University’s policies against sexual harassment and stalking on the basis of sex,

as set forth in the CRR. While Rowles understood he was entitled to an advisor during the

investigation process, he did not have one.




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         After the Title IX Office sends a notice of investigation, it undertakes an investigation that

involves talking to witnesses, collecting documentary evidence, and preparing an investigative

report. In matters involving students, the Title IX Administrator determines whether there exists

sufficient evidence for the issuance of a Notice of Charges.

         On December 13, 2016, Rowles received an email from Eardley informing him that the

investigation of AB’s complaint would proceed, and Rowles had three business days to select

informal or formal resolution. Informal resolution involves administrative consideration, while

formal resolution involves a hearing panel.

         On February 24, 2017, Rowles received an email from Eardley that the investigation was

nearly complete, and she would soon begin her review of the investigative report. Eardley

indicated it was Rowles’ final opportunity to request formal resolution of the complaint by hearing

panel.

         On February 28, 2017, Rowles received an email from Lammers, which included a copy

of the investigative report. Rowles responded to Lammers’ email that he would “stick to the

informal resolution option,” would meet with Student Legal Services for legal advice, and would

meet with Eardley the next day.

         The standard of proof to determine whether a University policy violation occurred is by a

preponderance of the evidence, or, whether it is more likely than not that a violation occurred. In

her findings, Eardley wrote that “AB stated that the accumulation of these incidents made her feel

uncomfortable and interfered with her ability to focus on work at the rec center.” Eardley viewed

the overall allegations as threatening, and that Rowles sent AB about 30 social media messages

between March 2, 2016 and April 18, 2016, in which he occasionally addressed AB as “Silky,”

instead of her name. Eardley thought the evidence suggested AB generally felt intimidated or



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unsafe. Eardley determined whether a reasonable person under the circumstances would have been

frightened, intimidated, or emotionally distressed. Eardley found that from an objective standard,

Rowles’ conduct was unwelcome and hostile. Eardley evaluated the totality of the circumstances

and determined that a four-year suspension was an appropriate sanction, based on the nature and

circumstances surrounding the violation, Rowles’ disciplinary history, the need to prevent future

reoccurrences, and other information she deemed relevant.

       On March 15, 2017, Rowles received notice of the informal resolution determination that

he had violated the University’s policies against sexual harassment and stalking on the basis of

sex. On March 24, 2017, Rowles appealed the decision to Scroggs, through his attorney. University

policy provides for three grounds for appeal, as follows: (1) procedural error significantly

impacting the outcome of the resolution; (2) new evidence previously unavailable; and (3) that the

sanctions fell outside the range typically imposed for the offense, or for the cumulative conduct

record of the accused. Rowles’ appeal was based on this third ground, that the four-year suspension

imposed as sanctions was outside the typical range. The appellate officer determines whether the

sanction is outside the typical range. Scroggs reviewed the investigative report and Eardley’s

findings, and concluded that AB was afraid of Rowles, Rowles’ conduct changed how AB did her

work and her experiences on campus, and that Rowles was a danger to AB. Scroggs concluded,

however, that the four-year suspension was beyond the typical range of sanctions and should be

reduced to two years, after which AB would no longer be on campus as an undergraduate student.

       On April 18, 2017, Rowles received a letter from Scroggs detailing her appellate findings,

including her final decision to uphold the Title IX Office’s conclusion that Rowles had violated

University policy, but modifying the resulting sanction from a four-year suspension to a two-year

suspension, to conclude at the end of the summer 2019.



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                                      LEGAL STANDARD

       A party is entitled to summary judgment if there is no genuine issue of material fact and

the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56; Rafos v. Outboard

Marine Corp., 1 F.3d 707, 708 (8th Cir. 1993) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 322-

23 (1986)).

                                            ANALYSIS

       The Curators seek summary judgment on Rowles’ Count VI alleging race discrimination

in federally assisted programs in violation of the Civil Rights Act of 1964. The Curators assert that

Rowles cannot demonstrate intentional race discrimination and/or otherwise establish that the

Curators’ treatment of Rowles was pretext for race discrimination. In opposition, Rowles argues

he has established a prima facie case of race discrimination based on evidence showing that the

Curators punished Rowles more harshly than two other students, perceived as white, who were

found to have violated the University’s policies against sexual harassment and stalking on the basis

of sex, and the Curators have not provided a race-neutral explanation for the disparate sanctions.

       “No person in the United States shall, on the grounds of race, color, or national origin, be

excluded from participation in, be denied the benefits of, or be subjected to discrimination under

any program or activity receiving Federal financial assistance.” 42 U.S.C. § 2000d. To prove a

claim under Title VI, a plaintiff must show: (1) the defendant receives federal funds; (2) the

plaintiff was discriminated against; and (3) the plaintiff’s race, color, or national origin motivated

the discrimination. Rodgers v. Univ. of Mo. Bd. of Curators, 56 F. Supp. 3d 1037, 1047 (E.D. Mo.

2014) (citing Thompson v. Bd. of the Special Sch. Dist. No. 1, 144 F.3d 574, 581 (8th Cir. 1998)).




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“Title VI prohibits only intentional discrimination,” and “the Curators cannot be held vicariously

liable under Title VI for the actions of individual actors.” Mumid v. Abraham Lincoln High Sch.,

618 F.3d 789, 794 (8th Cir. 2010); Rodgers, 56 F. Supp. 3d at 1048.

       Direct evidence of intentional discrimination can be shown with “evidence showing a

specific link between the alleged discriminatory animus and the challenged decision,” allowing a

finding of “an illegitimate criterion actually motivated” the complained-of actions. Russell v. City

of Kansas City, Mo., 414 F.3d 863, 866 (8th Cir. 2005). In the absence of direct evidence of

discrimination, the McDonnell Douglas burden-shifting analysis governs Title VI claims. Fuller

v. Rayburn, 161 F.3d 516, 518 (8th Cir. 1998). “One common way to show pretext is with evidence

that other similarly situated individuals who were not in plaintiff’s protected class engaged in the

same conduct but were treated differently.” Russell, 414 F.3d at 868. To establish indirect evidence

of race discrimination through disparate treatment, a plaintiff must demonstrate he is a member of

a protected class, he was disciplined, and “similarly situated comparators were treated differently

for the same or similar conduct.” Griffin v. Crossett Sch. Dist., Inc., No. 07-CV-1015, 2008 WL

2669115, at *3 (W.D. Ark. July 1, 2008) (citing Buhendwa v. Univ. of Colo. at Boulder, 214 Fed.

App’x 823, 827 (10th Cir. 2007)). If the plaintiff can demonstrate a prima facie case of race

discrimination under Title VI with indirect evidence, then the defense must “articulate some

legitimate, nondiscriminatory reason for” its actions. McDonnell Douglas Corp. v. Green, 411 U.S.

792, 802 (1973).

       In this case, with all reasonable factual inferences drawn in Rowles’ favor, there is no

genuine issue of material fact that the University receives federal funds. The Court must determine

whether there is no genuine issue of material fact and the Curators are entitled to judgment as a




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matter of law with respect to Rowles’ assertions that he was discriminated against on the basis of

race.

        The summary judgment record does not contain direct evidence of discrimination. To the

extent Rowles would assert that Gallimore made a discriminatory statement against him, the

statement that Rowles looked like someone who might commit sexual assault does not explicitly

reference Rowles’ race. Moreover, with all reasonable inferences drawn in Rowles’ favor, the

record demonstrates that Gallimore was not involved in the investigation or decision-making

relating to AB’s complaint against Rowles.

        Because the record does not contain direct evidence of race discrimination, the Court

considers whether, with all reasonable inferences drawn in Rowles’ favor, he has made prima facie

case of indirect race discrimination for which the Curators provide no legitimate explanation.

        Rowles seeks to establish that he was discriminated against on the basis of race in violation

of Title VI because the two other individuals found to have violated the University’s policies

against sexual harassment and stalking on the basis of sex, who are perceived white as compared

to Rowles who is perceived black, received milder sanctions than those imposed against Rowles.

        While the record demonstrates that the other students found to have violated the

University’s policies against sexual harassment and stalking on the basis of sex are perceived as

white and received lesser sanctions than Rowles, the record does not establish that the

circumstances surrounding these other two instances of violation of the University’s policies are

suitable comparators for purposes of Rowles establishing race discrimination. Rowles identifies

two white students, sanctioned by the Title IX Office for conduct amounting to sexual harassment

and stalking on the basis of sex. One of these students was suspended for six months, was barred

from residence halls, and was required to undergo counseling. The other student was not suspended



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for any duration, but was rather required to undergo counseling, despite accusations that the

student had engaged in conduct amounting to nonconsensual sexual contact.

       The Court previously determined, in the context of Rowles’ motion to compel discovery,

“that the relevant potential comparators involve complaints of sexual harassment and stalking on

the basis of sex, made by white undergraduate students against graduate students.” (Doc. #57).

The record does not demonstrate that the circumstances under which the other two students were

sanctioned more lightly are sufficiently similar to the circumstances in which Rowles was

sanctioned for a period of two years. Though Rowles argues that the information necessary to

establish these comparable circumstances is in the unique possession of the Curators, this Court

previously found further discovery into the underlying facts of other Title IX complaints need not

be produced to, among other reasons, preserve victim confidentiality. The Court thus concludes

that there is no genuine issue of material fact and the Curators are entitled to judgment as a matter

of law with respect to Rowles’ claim for Title IV race discrimination because Rowles cannot

demonstrate a prima facie case. Accordingly, it is hereby

       ORDERED Defendant Curators of the University of Missouri’s Motion for Summary

Judgment (Doc. #71) is GRANTED.

       IT IS SO ORDERED.



Dated: April 24, 2019
                                              /s/ Brian C. Wimes
                                              JUDGE BRIAN C. WIMES
                                              UNITED STATES DISTRICT COURT




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